         Case 1:23-cr-00227-JEB                Document 64           Filed 12/02/24         Page 1 of 3




                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

____________________________________
UNITED STATES OF AMERICA             )
                                     )
      v.                             )                                  Case No. 23-CR-00227-JEB
                                     )
JEFFREY REED,                        )
                                     )
                     Defendant       )
___________________________________ )

                              MOTION TO CONTINUE SENTENCING

         Jeffrey Reed, through undersigned counsel, respectfully moves this Court to continue his

sentencing hearing, currently set for December 20, 2024, to a date after the presidential

inauguration scheduled for January 20, 2025. Mr. Reed seeks this continuance in the interest of

justice and to avoid unnecessary waste of government resources.

         On September 18, 2024, following a bench trial, the Court found Mr. Reed guilty of four

misdemeanor counts and one felony count 1 arising from his presence at the United States Capitol

on January 6, 2021. Mr. Reed subsequently filed a Motion for Judgment of Acquittal

Notwithstanding the Verdict as to Count One (the felony count). The Court denied Mr. Reed’s

motion in a written memorandum opinion issued November 15, 2024. ECF No. 62.

         Sentencing is scheduled for December 20, 2024.

         Former President and President-elect Trump has repeatedly and publicly stated his

intention to pardon individuals present at the Capitol on January 6, 2021, when he assumes office

on January 20, 2025. Indeed, as recently as yesterday, following President Biden’s pardon of his


1
  Mr. Reed was convicted of civil disorder in violation of 18 U.S.C. § 231(a)(3); entering and remaining in a
restricted building or grounds in violation of 18 U.S.C. § 1752(a)(1); disorderly and disruptive conduct in a
restricted building or grounds in violation of 18 U.S.C. § 1752(a)(2); disorderly conduct in a Capitol building in
violation of 40 U.S.C. § 5104(e)(2)(D); and parading, demonstrating or picketing in a Capitol building in violation
of 40 U.S.C. § 5101(e)(2)(G).

                                                         1
          Case 1:23-cr-00227-JEB            Document 64          Filed 12/02/24        Page 2 of 3




son Hunter Biden, Mr. Trump lamented that pardons have not been issued for “J-6 Hostages” yet. 2

President-elect Trump’s promise to pardon J6 participants has been reportedly widely. 3

         Because the Department of Justice’s position on the appropriate sentencing outcome in Mr.

Reed’s case is highly likely to change when the new administration takes office in January 2025,

and because the President-elect has consistently expressed an intention to pardon individuals like

and potentially including Mr. Reed upon assuming office, Mr. Reed requests this Court continue

his sentencing date by 90 days. He submits that such a continuance will allow the U.S. Attorney’s

office to receive and adopt whatever advocacy position it will be directed to follow under the new

administration. Additionally, such a continuance will ensure this Court’s resources are not

unnecessarily expended on a sentencing hearing and will potentially eliminate any need for re-

sentencing or other Court action following January 20, 2025. Finally, continuing the sentencing

will save the federal government money, as undersigned counsel’s travel arrangements from Texas

to Washington D.C. to attend (a potentially unnecessary) sentencing are born by the federal court

system.

         On November 14, 2024, undersigned counsel reached out via email to counsel for the

government to obtain the government’s position on the requested continuance and has received no

reply.

         For all these reasons, Mr. Reed respectfully requests the Court continue his sentencing

hearing for ninety (90) days or to a date and time convenient for the Court sometime after January

20, 2025.



2
  In a post on TruthSocial, Trump reportedly said, “Does the Pardon given by Joe to Hunter include the J-6
Hostages, who have now been imprisoned for years? Such an abuse and miscarriage of Justice!” available at
https://economictimes.indiatimes.com/news/international/world-news/donald-trump-calls-presidential-pardon-for-
hunter-biden-miscarriage-of-justice/articleshow/115882155.cms?from=mdr
3
  “‘Man of his word’: Jan 6 rioters expect Trump will keep pardon promise,” Matt Wendling, BBC News, Nov. 12,
2024, available at https://www.bbc.com/news/articles/cj0jen70m88o

                                                       2
        Case 1:23-cr-00227-JEB             Document 64    Filed 12/02/24    Page 3 of 3




                                               Respectfully submitted.

                                               MAUREEN SCOTT FRANCO
                                               Federal Public Defender




                                               ______/s/_________________________
                                               CHARLOTTE A. HERRING
                                               Assistant Federal Public Defender
                                               Western District of Texas
                                               504 Lavaca St., Ste. 960
                                               Austin, Texas 78701
                                               (512) 916-5025




                                  CERTIFICATE OF SERVICE

       I, Charlotte Anne Herring, Assistant Federal Public Defender for the Western District of

Texas, hereby certify that on the 2nd day of December 2024, I electronically filed the foregoing

pleading with the Clerk of Court using the CM/ECF system, which will send electronic notification

of such filing to all counsel of record.

                                       __________________________________________
                                       /s/ CHARLOTTE ANNE HERRING




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